DATE: January 11, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Nicholas DeLuca, s/k/a Nicholas Tyler DeLuca
             v. Commonwealth of Virginia
             Record No. 1150-20-4
             Opinion rendered by Judge Russell on
              October 26, 2021

          2. Nicholas DeLuca
             v. Commonwealth of Virginia
             Record No. 1151-20-4
             Opinion rendered by Judge Russell on
              October 26, 2021

          3. Kimberly Paul Barney
             v. Commonwealth of Virginia
             Record No. 1057-20-1
             Opinion rendered by Judge Huff on
              November 3, 2021

          4. Brandon Alan McCarthy
             v. Commonwealth of Virginia
             Record No. 1225-20-1
             Opinion rendered by Judge Huff on
              November 9, 2021

          5. James A. Fields, s/k/a James Alex Fields
              v. Commonwealth of Virginia
              Record No. 1964-19-2
              Opinion rendered by Judge Humphreys on
              November 16, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Rebecca Jones Richard
   v. Commonwealth of Virginia
   Record No. 1722-19-3
   Opinion rendered by Judge Humphreys
    on December 8, 2020
   Judgment of Court of Appeals reversed and final judgment entered
    reinstating conviction by opinion rendered on December 29, 2021 (210027)

2. Terrence D’Juan Blackwell
   v. Commonwealth of Virginia
   Record No. 0328-20-2
   Opinion rendered by Judge Russell
    on February 23, 2021
   Refused (210299)

3. Blake Andrew Mitchell, Jr.
   v. Commonwealth of Virginia
   Record No. 1976-18-1
   Opinion rendered by Judge Russell
     on June 8, 2021
   Refused (210648)
